              Case 9:23-bk-10485-RC                   Doc 1 Filed 06/13/23 Entered 06/13/23 16:47:15                                       Desc
                                                      Main Document    Page 1 of 40

Fill in this information to identify your case:

United States Bankruptcy Court for the:

CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)     ---------------- Chapter                                       7
                                                                                                                          D Check if this an
                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                You Are Loved Foods, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Malling address, if different from principal place of
                                                                                                  business

                                  1282 Newbury Road, Suite 100
                                  Newbury Park, CA 91320
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Ventura                                                         Location of principal assets, If different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor               ■   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                  D Partnership (excluding LLP)
                                  D Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
              Case 9:23-bk-10485-RC                       Doc 1 Filed 06/13/23 Entered 06/13/23 16:47:15                                     Desc
                                                          Main Document    Page 2 of 40
Debtor    You Are Loved Foods, LLC
          Name
                                                                                                     Case number (if known)   --------------
7.   Describe debtor's business A. Check one:
                                      □   Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                      D Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                      D Railroad (as defined in 11 U.S.C. § 101(44))
                                      D Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                      D Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                      D Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                      ■   None of the above

                                      B. Check all that apply
                                      D Tax-exempt entity (as described in 26 U.S.C. §501)
                                      D Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                      D Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                      C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                        http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                               3118

8.   Under which chapter of the       Check one:
     Bankruptcy Code is the
     debtor filing?                   ■   Chapter 7
     A debtor who is a "small        D Chapter 9
     business debtor" must check D Chapter 11. Check all that apply.
     the first sub-box. A debtor as
     defined in § 1182(1) who                     D The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                           noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                        $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                   operations, cash-flow statement, and federal income tax return or if any of these documents do not
     "small business debtor") must                     exist, follow the procedure in 11 U.S.C. § 1116(1)(8).
     check the second sub-box.
                                                  D The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                       debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and It chooses to
                                                       proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                       balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                       any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(8).
                                                           □    A plan is being filed with this petition.
                                                           □    Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                accordance with 11 U.S.C. § 1126(b).
                                                           D    The debtor is required to file periodic reports (for example, 1OK and 1OQ) with the Securities and
                                                                Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                (Official Form 201A) with this form.
                                                           □    The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                      D Chapter 12

9.   Were prior bankruptcy            ■ No.
     cases filed by or against
     the debtor within the last 8     □ Yes.
     years?
     If more than 2 cases, attach a
     separate list.                            District   --------- When                                  Case number
                                               District   --------- When                          ------- Case number




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
             Case 9:23-bk-10485-RC                             Doc 1 Filed 06/13/23 Entered 06/13/23 16:47:15                                            Desc
                                                               Main Document    Page 3 of 40
Debtor    You Are Loved Foods, LLC                                                                       Case number (if known)
          Name

10. Are any bankruptcy cases
    pending or being filed by a
                                           ■ No
    business partner or an                 □ Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                   - Relationship
                                                              -- ---- ------,,.,..,,.--------
                                                     District __________ When _______ Case number, if known


11. Why Is the case filed In           Check all that apply:
    this district?
                                       ■      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                       D      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or             D No
    have possession of any
    real property or personal          ■ Yes.       AnsVv'8r below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    Immediate attention?                          Why does the property need Immediate attention? (Check all that apply.)
                                                    D It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                    D It needs to be physically secured or protected from the weather.

                                                    ■ It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                    D Other
                                                                                    1282 Newbury Road,
                                                                                    Suite 100
                                                    Where is the property?          Newbury Park. CA. 91320-0000
                                                                                    Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                    □ No
                                                    ■ Yes.    Insurance agency      Pacific Global Insurance Brokers
                                                              Contact name          Peter Reynolds
                                                              Phone                 818-360-3987


- Statistical and administrative information
13. Debtor's estimation of                      Check one:
    available funds
                                                D Funds will be available for distribution to unsecured creditors.

                                                ■ After any administrative expenses are paid, no funds will be available to unsecured creditors.
14. Estimated number of                ■ 1-49                                           □ 1,000-5,000                              □ 25,001-50,000
    creditors
                                       □ 50-99                                          □ 5001-10,000                              □ 50,001-100,000
                                       □ 100-199                                        □ 10,001-25,000                            □ More than100,000
                                       □ 200-999
15. Estimated Assets                   □ $0 -$50,000                                    D $1,000,001 -$10 million                  D $500,000,001 -$1 billion
                                       ■ $50,001 -$100,000                              D $10,000,001 -$50 million                 D $1,000,000,001 -$10 billion
                                       0 $100,001 -$500,000                             D $50,000,001 -$100 million                D $10,000,000,001 -$50 billion
                                       D $500,001 -$1 million                           □ $100,000,001 -$500 million               D More than$50 billion

 Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page3
                Case 9:23-bk-10485-RC           Doc 1 Filed 06/13/23 Entered 06/13/23 16:47:15                                  Desc
                                                Main Document    Page 4 of 40
Debtor   You Are Loved Foods, LLC
         Name
                                                                                      Case number (if known)   --------------

16. Estimated liabilities   0 $0 -$50,000                             D $1,000,001 - $10 million                D $500,000,001 -$1 billion
                            □ $50,001 -$100,000 .                     D $10,000,001 -$50 million                D $1,000,000,001 -$10 billion
                            ■ $100,001 -$500,000                      D $50,000,001 -$100 million               D $10,000,000,001 -$50 billion
                            D $500,001 -$1 million                    D $100,000,001 -$500 million              D More than $50 billion




Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                          page4
               Case 9:23-bk-10485-RC                       Doc 1 Filed 06/13/23 Entered 06/13/23 16:47:15                                             Desc
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 Fill i11 this info11n;ltmn to identify your C.lse:


 United States Bankruptcy Court for the:

 CENTRAL DISTRICT OF CALIFORNIA
Case number (lf AnOwnJ        -------------                                     Chapter        7
                                                                                                                               □   Check ff this an
                                                                                                                                   amended ftffng




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                    oe,22
If more space Is needed. attach a separate sheet to this fonn. On the top of any addltlonal pages, write the debtor's name and the case number (If
known). For more Information. a separate documant. lnstnrctlons for Banl<ruptt:y Fonm for Non-Individuals, la avallable.

- Request for Relief, Declaration, and Signatures

WARNING - Bankruptcy fraud Is a serious crime. Making a false statement In connection with a bankruptcy case can result In fines up to $500,000 or
          imprtsonmentforupto 20years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.
17. Declaration and signature
    of authotiz9d             The debtor requests relief In accordance with the chapter of title 11, United States Code, specified fn this petition.
    representative of debtor
                              I have been authorized to file this petition on behalf-of the debtor.
                                      I have examinedthe Information in this petition and have a reasonable belief that the information is true and correct.
                                      I declare under pe             ry that the foregoing Is true and correct.
                                      Executed on                    Z,� 1,..,3
                                                                                                             Jonathan Heine
                                                                                                             Printed name




18. Signature of attorney


                                      Andrew Goodman 115685
                                      Printed name

                                     Goodman Law Offices, A Professional Corporation
                                     Fmnname

                                     30700 Russell Ranch Road
                                     Sulte250
                                     Thousand Oaks. CA 91362
                                     Number. Street, City, State & ZIP Code

                                     Contact phone     818-802-6044                 Emall address       agoodman@andyglaw.com

                                     115685CA
                                     Bar number and State




 Official Form 201                             Voluntary Petition for Non-lndlvlduala Flllng for Bankruptcy                                                    page 1
        Case 9:23-bk-10485-RC                        Doc 1 Filed 06/13/23 Entered 06/13/23 16:47:15                                        Desc
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 Fill in this inform"tion to identify tile c;1sc:

 Debtor name        You Are Loved Foods, LLC
 United States Bankruptcy Court for the: CENTRAL DISTRICT OF CALIFORNIA

 Case number (lf kno.¥n) _________
                                  _
                                                                                                                            □   Check tf this is an
                                                                                                                                amended fifing


Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An Individual who Is authorized to act on behalf of a non-lndlvldual debtor, such as a corporation or partnership, must sign and submit this
fonn for the schedules of assets and llabllltfas, any other document that requires a declaration that Is not Included In the document, and any
amendments of those documents. This fonn must state the fndMdual's position or relationship to the debtor, the Identity of the document,
and the date. Banknaptcy Rules 1008 and 9011.

WARNING - Bankruptcy fraud Is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud In
connection with a bankn1ptcy case can result In fines up to $500,000 or Imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.


               Declaration and signature

      I am the president, another officer, or an authorized agent ofthe c;orporatfon; a member or an authorized agent of the partnership; or another
      individual seNing as a representative ofthe debtor In this case.

      I have examined the Information In the documents checked below and I have a reasonable beliefthat the infonnation is true and correct:

          ■    Schedule A/8: Asse_t.9-Resl and Personal Property (Official Form 206A/B)
          ■■   Schedule D: Creditors KfJa Have Claims Secured by Property (Official Form 2060)
               Schedule EIF: Cteditors Who Have Unsecured Claims (Official Form 208E/F)


         ■■
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G}
               Schedule H: Codebtors (Official Form 206H)


       □□■
               SumtnSIY ofAssets and Usbllities for Non-lndlvidus/s (Official Form 208Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 cases: Ust of Creditors Who Have the 20 Largest Unsecured Claims and At& Not Insiders (Official Form 204)
       □
                                                                        co,"'
               Other document that requires a declaration

      I declare under
                     ,
                          �•'l lhal the folagolng Is true and
       Executed on      O L1} / LJ1> L? X ·
                               I      /         ;i:i���ii' fiil dit1v��� :=- 1i;;stg�fin.�;:;;;i
                                                                    e of   n    ua     n ng on   beh� a;iiW;;;oT.fde;r.;;:.:=ibtor�------------

                                                                      n Heine

                                                            Managing Member
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
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                              STATEMENT OF RELATED CASES
                           INFORMATION REQUIRED BY LBR 1016-2
            UNITED STATES BANKRUPTCY COURT, CENTRAL DISTRICT OF CALIFORNIA
1. A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has previously been filed by or
   against the debtor, his/her spouse, his or her current or former domestic partner, an affiliate of the debtor, any
   copartnershlp or Joint venture of which debtor Is or formerly was a general or limited partner, or member, or any
   corporatiOn of which the debtor is a director, officer, or person In control, as follows: (Set forth the complete number
   and title of each such of prior proceeding, date filed, nature thereof, the Bankruptcy Judge and court to whom
   assigned, whether still pending and_, If not, the disposition thereof. If none, so Indicate. Also, list any real property
   included in Schedule A/B that was filed with any such prior proceedlng(s).)
None
2. (If petitioner is a partnership or joint venture) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform
   Ad. of 1978 has previously been filed by or against the debtor or an affiliate of the debtor, or a general partner in the
   debtor, a relative of the general partner, general partner of, or person in control of the debtor, partnership in which the
   debtor is a general partner, general partner of the debtor, or person In control of the debtor as follows: (Set forth the
   complete number and title of each such prior proceeding, date filed, nature of the proceeding, the Bankruptcy Judge
   and court to whom assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list
   any real property included In Schedule A/B that was filed with any such prior proceeding(s).)
None

3. (If petitioner is a corporation) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has
   previously been filed by or against the debtor, or any of its affiliates or subsidiaries, a director of the debtor, an officer
   of the debtor, a person in control of the debtor, a partnership in which the debtor is general partner, a general partner
   of the debtor, a relative of the general partner, director, officer, or person In control of the debtor, or any persons, firms
   or corporations owning 20% or more of its voting stock as follows: (Set forth the complete number and title of each
   such prior proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether
   stiD pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule
   A/B that was filed with any such prior proceeding(s).)
 None

4. (If petitioner is an individual) A petition under the Bankruptcy Reform Act of 1978, including amendments thereof, has
   been filed by or against the debtor within the last 180 days: (Set forth the complete number and title of each such prior
   proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether still
   pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule A/8
   that was filed with any such prior proceeding(s).)
 None

I declare, under penalty of perjury, that the foregoing is true and correct
 Executed at     Vlvl h I\_,,,                                    , California.

 Date:           Q � {Bf
                       I
                          2.iv J.....2
                          I



                                                                                                    Signature of Debtor 2




                  Th1s fom, 1, mandatafy. It hit been approved for UH In tho United Statel Bankruptcy Court for tho Central aatrict of Cellfomla.
 October 2018                                                            Paget               F 1016-2.1.STMT.RELATED.CASES
              Case 9:23-bk-10485-RC                                          Doc 1 Filed 06/13/23 Entered 06/13/23 16:47:15                                                                    Desc
                                                                             Main Document    Page 8 of 40
 Fill in this information to identify the case:

 Debtor name            You Are Loved Foods, LLC

 United States Bankruptcy Court for the:                       CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                                                                   D Check if this is an
                                                                                                                                                                                     amended filing



Official .Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                 12/15

•=MIN Summary of Assets
 1.    Schedule AIB: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from S chedule AIB............................................................................................................................ .                 $   -------
                                                                                                                                                                                                  0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/8.........................................................................................................................                      $         71,544.10

       1c. Total of all property:
           Copy line 92 from Schedule A/8...........................................................................................................................                     $   -------
                                                                                                                                                                                                71,544.10


■UtM Summary of Llablllties
 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $         25,078.44


 3.    Schedule EIF: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule EIF..........................................................................                                      $           2,400.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule EIF................................................                                              +$        374,652.41


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                                        402,130.85
                                                                                                                                                                                   1$




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                              page 1
Software Copyright (c) 1996-2023 Best Case, LLC -www.bestcase.com
            Case 9:23-bk-10485-RC                    Doc 1 Filed 06/13/23 Entered 06/13/23 16:47:15                                            Desc
                                                     Main Document    Page 9 of 40
Fill in this information to identify the case:

Debtor name        You Are Loved Foods, LLC

United States Bankruptcy Court for the:     CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                                □      Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property In which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/81 list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor's name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment In the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor's interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
- Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

     D No. Go to Part 2.
     ■ Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                       debtor's interest
3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number

           3.1.   Chase Bank                                          Merchant Account                      1678                                       $539.46




           3.2.   Chase Bank                                          Checking                              1652                                     $1,150.64



4.         Other cash equivalents (Identify all)

5.         Total of Part 1.                                                                                                                      $1,690.10
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

- Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

     D No. Go to Part 3.
     ■ Yes Fill in the information below.
7.         Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit

           7.1.   Security Deposit In Possession of Landlord                                                                                         $7,600.00



8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
Official Form 206A/B                                Schedule A/8 Assets - Real and Personal Property                                                         page 1
             Case 9:23-bk-10485-RC                     Doc 1 Filed 06/13/23 Entered 06/13/23 16:47:15                              Desc
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Debtor          You Are Loved Foods, LLC                                                    Case number (If known) ____________
                Name

            Description, including name of holder of prepayment

9.          Total of Part 2.                                                                                                         $7,600.00
            Add lines 7 through 8. Copy the total to line 81.

- Accounts receivable
10. Does the debtor have any accounts receivable?


     ■
     D No. Go to Part 4.
         Yes Fill in the information below.

11.         Accounts receivable
            11a. 90 days old or less:                     10,000.00                                         0.00 =                     $10,000.00
                                         face amount                          doubtful or uncollectible accounts



            11 a. 90 days old or less:                     2,900.00                                         0.00 =                      $2,900.00
                                         face amount                          doubtful or uncollectible accounts




            11b. Over 90 days old:                         6,000.00                                        0.00 =....                   $6,000.00
                                         face amount                          doubtful or uncollectible accounts



12.         Total of Part 3.                                                                                                        $18,900.00
            Current value on lines 11a + 11b = line 12. Copy the total to line 82.

- Investments
13. Does the debtor own any Investments?

     ■ No. Go to Part 5.
     D Yes Fill in the information below.


- Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?


     ■
     D No. Go to Part 6.
         Yes Fill in the information below.

            General description                Date of the last           Net book value of          Valuation method used   Current value of
                                               physical Inventory         debtor's interest          for current value       debtor's interest
                                                                          (Where available)

19.         Raw materials
            Flour, nuts, glycerin.
            These are ingredients to
            make baked goods.
            Debtor is not sure they
            can be sold for anything
            other than a nominal
            amount                             05/01/2023
                                                                         --------
                                                                              $0.00                  Liquidation                        Unknown



20.         Work in progress

21.         Finished goods, Including goods held for resale

22.         Other inventory or supplies
Official Form206AfB                                    Schedule NB Assets - Real and Personal Property                                       page2
           Case 9:23-bk-10485-RC                    Doc 1 Filed 06/13/23 Entered 06/13/23 16:47:15                               Desc
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Debtor         You Are Loved Foods, LLC                                                    Case number   (If known)   _____________
               Name

         Baked Goods that are
         finished and packaged
         and being stored in a
         freezer                                                                         $0.00     Liquidation                         $1,000.00




23.      Total of Part 5.                                                                                                          $1,000.00
         Add lines 19 through 22. Copy the total to line 84.

24.      Is any of the property listed in Part 5 perishable?
           ■ No
           D Yes


           ■
25.        Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
           D Yes. Book value                              Valuation method                             Current Value

26.        Has any of the property listed in Part 5 been appraised by a professional within the last year?
           ■ No
           D Yes

- Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

   ■ No. Go to Part 7.
   D Yes Fill in the information below.


- Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

   D No. Go to Part 8.
   ■ Yes Fill in the information below.
         General description                                            Net book value of          Valuation method used   Current value of
                                                                        debtor's interest          for current value       debtor's interest
                                                                        (Where available)

39.      Office furniture
           Filing Cabinets and Folding Tables                                            $0.00                                        Unknown


         Chrome racks, work tables                                                       $0.00     Liquidation                          $750.00



40.        Office fixtures

41.      Office equipment, including all computer equipment and
         communication systems equipment and software
         HP Laser Printer (7 years old)                                                  $0.00                                        Unknown



42.      Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
         books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
         collections; other collections, memorabilia, or collectibles

43.      Total of Part 7.                                                                                                               $750.00 I
         Add lines 39 through 42. Copy the total to line 86.

44.      Is a depreciation schedule available for any of the property listed in Part 7?
Official Form 206A/B                               Schedule A/8 Assets - Real and Personal Property                                        page 3
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 Debtor        You Are Loved Foods, LLC                                                Case number (If known) ____________
               Name

          ■□   No
               Yes


           ■
 45.      Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
          □    Yes

- Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?


   ■
   D No. Go to Part 9.
       Yes Fill in the information below.

          General description                                        Net book value of         Valuation method used       Current value of
          Include year, make, model, and identification numbers      debtor's interest         for current value           debtor's interest
          (i.e., VIN, HIN, or N-number)                              (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
          floating homes, personal watercraft, and fishing vessels

49.       Aircraft and accessories


 50.      Other machinery, fixtures, and equipment (excluding farm
          machinery and equipment)
          SEE A TTACHED SCHEDULE OF EQUIPMENT

          lndistrial equipment to make baked goods and
          confections. Value Estimated on 40% of
          current retail                                            --------
                                                                         $0.00                 Liquidation                           $38,704.00



51.       Total of Part 8.                                                                                                       $38,704.00
          Add lines 47 through 50. Copy the total to line 87.




          □■
52.       Is a depreciation schedule available for any of the property listed in Part 8?
             No
             Yes


           ■
53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
          □    Yes

-Real property
54. Does the debtor own or lease any real property?

   D No. Go to Part 10.
   ■ Yes Fill in the information below.

55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an Interest

          Description and location of           Nature and           Net book value of         Valuation method used   Current value of
          property                              extent of            debtor's interest         for current value       debtor's interest
          Include street address or other       debtor's interest    (Where available)
          description such as Assessor          in property
          Parcel Number (APN), and type
          of property (for example,
          acreage, factory, warehouse,
          apartment or office building, if
Official Form 206AfB                               Schedule NB Assets - Real and Personal Property                                         page4
          Case 9:23-bk-10485-RC                     Doc 1 Filed 06/13/23 Entered 06/13/23 16:47:15                                 Desc
                                                    Main Document    Page 13 of 40

Debtor          You Are Loved Foods, LLC                                                 Case number (If known) ____________
                Name

          available.
          55.1. Lessee of real
                  property located at
                  1282 Newbury Road,
                  Suite 100, Thousand
                  Oaks, CA. 91320.
                  Lease expires July
                  31, 2023. Debtor is
                  behind one month in
                  rent - $4750.00                Lessee                                $0.00                                                 $0.00




56.       Total of Part 9.                                                                                                                 $0.00
          Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
          Copy the total to line 88.



          □■
57.       Is a depreciation schedule available for any of the property listed in Part 9?
              No
              Yes


           ■
58.       Has any of the property listed in Part 9 been appraised by a professional within the last year?
                No
          □     Yes

- Intangibles and intellectual property
59. Does the debtor have any Interests In intangibles or intellectual property?


   ■
   D No. Go to Part 11.
       Yes Fill in the information below.

          General description                                          Net book value of             Valuation method used   Current value of
                                                                       debtor's Interest             for current value       debtor's Interest
                                                                       (Where available)

60.       Patents, copyrights, trademarks, and trade secrets

61.       Internet domain names and websites

62.       Licenses, franchises, and royalties
          License for recipes and use of patent (owned
          by principal of Debtor - Jonathan Heine) low
          fat, low carb chocolate.                                                     $0.00                                                 $0.00



63.       Customer lists, malling lists, or other compilations

64.       Other Intangibles, or intellectual property

65.       Goodwill

66.       Total of Part 10.                                                                                                                $0.00
          Add lines 60 through 65. Copy the total to line 89.



           □■
67.       Do your lists or records include personally identifiable Information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
            No
            Yes




          □■
68.       Is there an amortization or other similar schedule available for any of the property listed in Part 10?
                No
                Yes

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                         page5
          Case 9:23-bk-10485-RC                     Doc 1 Filed 06/13/23 Entered 06/13/23 16:47:15                    Desc
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 Debtor        You Are Loved Foods, LLC                                                    Case number (If known) ____________
               Name



          ■
69.       Has any of the property listed In Part 10 been appraised by a professional within the last year?
            No
          □ Yes

- All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.


   ■
   D No. Go to Part 12.
     Yes Fill in the information below.

                                                                                                                Current value of
                                                                                                                debtor's interest


71.       Notes receivable
          Description (include name of obligor)

72.       Tax refunds and unused net operating losses (NOLs)
          Description (for example, federal, state, local)
          Employee Retention Credit (listed in Schedule B as an
          AIR)                                                                               Tax year -------
                                                                                                      2021                 $2,900.00



73.       Interests in insurance policies or annuities
74.       Causes of action against third parties (whether or not a lawsuit
          has been flied)
          Underpayment from Ditributor for previous orders,
          which has been questioned, approximately $6000.
          Debtor believes it may be difficult to collect                                                                   $6,000.00
          Nature of claim            Claim for money not paid
                                     pursuant to invoices
          Amount requested                              $6,000.00



75.       Other contingent and unllquldated claims or causes of action of
          every nature, including counterclaims of the debtor and rights to
          set off claims
76.       Trusts, equitable or future interests In property
77.       Other property of any kind not already listed Examples: Season tickets,
          country club membership
          Miscellaneous equipment at Debtor's location with
          nominal value, including some raw materials (food
          ingredients, packaging), kitchen utensils, etc.                                                                  Unknown



78.       Total of Part 11.                                                                                              $2,900.00
          Add lines 71 through 77. Copy the total to line 90.



          □■
79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206AfB                                Schedule NB Assets - Real and Personal Property                             page6
            Case 9:23-bk-10485-RC                                 Doc 1 Filed 06/13/23 Entered 06/13/23 16:47:15                                                  Desc
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Debtor          You Are Loved Foods, LLC                                                                            Case number       (lfknownJ   ____________
                Name


-L....S _ u_m_m_a _..:....._
                    ry
                            _______________________________________
In Part 12 copy all of the totals from the earlier parts of the fonn
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                              $1,690.10

81. Deposits and prepayments. Copy line 9, Part 2.                                                                   $7,600.00

82. Accounts receivable. Copy line 12, Part 3.                                                                     $18,900.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                 $1,000.00

85. Fanning and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                               $750.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $38,704.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                    $2,900.00

91. Total. Add lines 80 through 90 for each column                                                              $71,544.10          j+e1b.   L-______           so _.o_o___.

92. Total of all property on S chedule A/8. Add lines 91a+91b=92                                                                                                  $71,544.10




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                             page 7
                                                               Case 9:23-bk-10485-RC                                                   Doc 1 Filed 06/13/23 Entered 06/13/23 16:47:15                                                                                            Desc
                                                                                                                                       Main Document    Page 16 of 40

         You Are Loved Foods
         Equipment List
         As Of 06/09/2023




                                                                                                                                                                                                             Source
                                                                                                                                                                                            Current           V.alue


                                                                                                                                                                                                        ------
                                                                                                                                                                               Or1ain.al     lhted Estimated Eialmat
Item#               __M o_o_
             _nd____,
         B_r a                                                                               function/Use                        0.lte In Use                 Condition         Price        Price   Voh.ie     e            Serial Humber                      Comments
                           o 1_n�YP_•_________



                             Model 8628206. t9E: 5 rack Combi (Steam         tlaturol Wi, Convection, Sle.1m,                                                                                                                                Incl Buck.et of Cleaning Tablei (590 value),
         RATIOHAL            assisted) 0vl!'fl                               Programmable, Bake                                    5/15/2018 5 year$       fl(cetlent. Used     S15,213      S15,8-19    56.340    40\                       Table with Wheels, Slngle Phase Powef



                             Stand for Ratklnal �n with
IRATIOtlAL                   Wheels/Stainless sleet                                                                                5/15/2018 5 years       Excellent, Used        Sl.356      S1.356      S542     401,




I_
                             6 rack Combl (Ste-&m Aukledl Ch'en with         Uatural Gas, Convection, Steam,                                                                                                                                 Single Phase Power. P("t"centagc of Prk.e bMed
.UNOX                        Wheeled Ove-n Stand tStalnte,s� Steel)          ProBrammable, Bake                                  11/0J/2016     b-)/4 ye.iu Ex�llent, �ed         S9,14◄    S13,760      S5,504    40%                       on Hew Prke
                                                                                                                                                            Excellent, used




                             ..
                                                                                                                                                            very little. put
                             Model 600, 60 Qt Ptanel.uy Mixer, USF                                                                                          into seNlce 6                                                                    Incl v.11rlous mlxin13 paddt� �nd scr.11per, large

                             , ,                                                                                                                                                                                   """'
                             Certified, wflh full mtxlng tools, adjustable   for mixing and beating, batters, �gs, CBS                                      months pre                                                                       bowl, NSF certified, current prke listed ot
                                                                             whites, king, etc.                                  06/15/2019     ◄ years     p.11ndemic           S9.700      515,513     $6,205                              KATOM supply
                                                                                                                                                                                                                                             programmable. Sln�le phase power, all
                             Mutt! Drop Cookie Oepositor. 5 nozzle, with                                                                                                                                                                     elecuic (does not require air compress.or).




I,■ �,.,
                                                                                                                                                                                                                   """'
                             conveyor belt and �rs. p<Qirammabte,            for depo,lli"i thkk batters and kings,                                                                                                                          Nttd to ch«k with Comp,ony for current
IPOUN                        incl Ol� and nozzles. rtSf certified            cookteS. conf�tions such as truffles, etc.          06/1512019     4y,,m      Excellent, Used      S2◄,255      S2◄,255     S9,102                              prkc. left mes�ReS

                                                                                                                                                                                                                                             Includes mold for ) decOrattve tart crmts,
                                                                                                                                                                                                                                             other shapes c.11n be ordN'N:I from Comtec.
                                                                             Pres� douBh 1rom a �II tnto a tart crust                                                                                                                        Require'\ air compressor. f�c-ed to che<k with
                             Modet 1100 Pie Crust Press                      or pie crust. Incl custom l tart head                02/2018       5·113 yea, Excellent, Used       S7.420                                                      Company for current prke




■
                                                                                                                                                                                                                Minimu
                             rn 40JZSV (MA Elf 400 SV Deluxe), Single                                                                                                                                            m Bid                     Stngle Wand. Ptemeesure seltfnas, requires alr
        . UtllflllER         Wand Batter Depositor                           For deposllllli thinner batters, 11dj1.rtt.11ble    OJ/0212018     5 yellr\   Excellent. lhed        $7,772                 $4,050 Similar ELFV•081807•001·01 compressor




■■
                                                                                                                                                                                                                                             Single Phase Power, temp ranee 92f•8oillng,
                            KET)t Steam JM.ket Kettle, electrk,                                                                                            Excellent,                                                                        Aluminum Bowl, incl Wheeled Table. w.y be
          CLEVflAtlO KETTLE countertop, J G.11\ton                           For heating batters. water. etc.                   05/15/2023      Syears     hardty used                                                                       hard to sell

                             SP 20: 20 Qt. Planetary Mixer, incl both I 0
                             and 20 qt bowb, wfre whip, Bowl Scraper, 10
        , GLOBE              qt adapter kit.                              For bteodiftB ballt<'S, whipping �g whites 0511512018                 5 years    Excellent, Used        SJ,119      S5,l2l     $1,128     <400:i                   Slflile Phase Power
                             SP 20: 20 QL Pla�tary Mixer, Inc.I both 10
                             .11nd 20 qt bowls, wire whip, 8owt Scraper, 10
        · GLOBE              qt .11dapter kit.                              For b(endlng better$, whipping egg whites 05/15/2018                5 ye11rs   Excellent, lhed        53,119      S5,J21     S2,128     �                        Single Ph.ue Power
                                                                                                                                                           Good, lhJtor in




lw_,
                                                                                                                                                           this model
                                                                                                                                                           wears oot
                                                                                                                                                           qukkly, but out




1--- �-
                                                                                                                                                           of warranty
                             Model FP2200, food Processor with Batch         for bl.ending, whipping, grinding and other Replaced with                     after                                                                             Ueed lO test motor funcUon. Current Pncc
                             Bowl and Cullfnv Blade                          food processor usn                          N� late 2019 4 years              re-placement           52, 106     52,630     51,0S2     ◄O'\                     from Amazon
                                                                                                                                                           Good. Motor In
                                                                                                                                                           thb model
                                                                                                                                                           wears out
                                                                                                                                                           quk.kly, but out
                                                                                                                                                           of warranty
                             Modet FPUOO. Food Procenor with Batch           For btendtna, whlppln;, grindi� and other Replaced with                       aft«                                                                              tleed to test motor function, Current Prke
                             Bowt and Cuttln9 Blt1de                         food proce-ssor us.e-s                    Uew tote 2019 ◄ years               ,cpl.occmcnt           S2, 106     S2.630     51,052     ..al.                    from r..maz:on



-TOTAL                                                                                                                                                                          S89,069      S86,635    538,104
            Case 9:23-bk-10485-RC                            Doc 1 Filed 06/13/23 Entered 06/13/23 16:47:15                                      Desc
                                                             Main Document    Page 17 of 40
Fill in this information to identify the case:

Debtor name          You Are Loved Foods, LLC

 United States Bankruptcy Court for the:           CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                                      D Check if this is an
                                                                                                                                        amended filing


Official Form 2060
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                 12/15

Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
      D No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.

      ■ Yes. Fill in all of the information below.
■@IN List Creditors Who Have Secured Claims                                                                       Column A                  Column 8
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                               Amount of claim           Value of collateral
                                                                                                                                            that supports this
                                                                                                                  Do not deduct the value   claim
                                                                                                                  of collateral.
       First Citizens Bank formally
2.1                                                                                                                        $10,280.52                    $0.00
       CIT                                          Describe debtor's property that Is subject to a lien
       Credilo(s Name                               Equipment - SEE ATTACHMENT TO
       155 Commerce Way                             SCHEDULE B
       Attn: Alysha Lambert
       Portsmouth, NH 03801
       Creditor's mailing address                    Describe the lien
                                                     ucc
       alyshalambert@firstcitizen                    Is the creditor an insider or related party?
       s.com                                         ■ No
       Creditor's email address, if known            □ Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                        □ No
       04/26/2018                                    ■ Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       4000
       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
       ■ No                                          D Contingent
       D Yes. Specify each creditor,                 D Unliquidated
       including this creditor and its relative
       priority.
                                                     ■ Disputed

       First Citizens Bank formally
2·2                                                                                                                        $14,797.92                    $0.00
       CIT                                           Describe debtor's property that is subject to a lien
       Credilo(s Name                               SEE LIST ATTACHED TO EXHIBIT B
       155 Commerce Way
       Attn: Alysha Lambert
       Portsmouth, NH 03801
       CrecJllo(s mailing address                   Describe the lien
                                                     ucc
                                                    Is the creditor an insider or related party?
                                                     ■ No
       Creditor's ematl address. 1f known            □ Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                        □ No
       12/21/2018                                    ■ Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       4001

Official Form 2060                                Schedule D: Creditors Who Have Claims Secured by Property                                              page 1 of 2
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                                                        Main Document    Page 18 of 40
Debtor      You Are Loved Foods, LLC                                                             Case number (if known)
            Name

      Do multiple creditors have an              As of the petition filing date, the claim Is:

       ■
      Interest in the same property?             Check all that apply
           No                                    D Contingent
       D Yes. Specify each creditor,             D Unliquidated
      including this creditor and its relative
      priority.
                                                 ■ Disputed

3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.           $25,078.441

■ifffW l.lst Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed In Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed In Part 1, do not fill out or submit this page. If addlUonal pages are needed, copy this page.
        Name and address                                                                                    On which line In Part 1 did        Last 4 digits of
                                                                                                            you enter the related creditor?    account number for
                                                                                                                                               this entity




Official Form 206D                 Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of2
           Case 9:23-bk-10485-RC                         Doc 1 Filed 06/13/23 Entered 06/13/23 16:47:15                                                  Desc
                                                         Main Document    Page 19 of 40
 Fill in this information to identify the case:

 Debtor name       You Are Loved Foods, LLC

 United States Bankruptcy Court for the:        CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                                           D     Check if this is an
                                                                                                                                                 amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule AIB: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space Is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part Included In this form.

i:ftilM List All Creditors with PRIORITY Unsecured Claims
     1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

         D No. Go to Part 2.
         ■ Yes. Go to line 2.
      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more lhan 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                   Total claim           Priority amount

� Priority creditor's name and mailing address                As of the petition filing date, the claim is:                               $2,400.00         $0.00
          Franchise Tax Board                                 Check all that apply.
          Section, MS: A-340                                   D Contingent
          P.O. Box 2952                                        D Unliquidated
          Sacramento, CA 95812-2952                            D Disputed
          Date or dates debt was incurred                      Basis for the claim:
          2021,2022,2023                                       $800/year payments
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY
          unsecured claim: 11 U.S.C. § 507(a) (fil
                                                               ■ No
                                                               D Yes

� Priority creditor's name and mailing address                As of the petition filing date, the claim is:                                      $0.00      $0.00
          Internal Revenue Service                            Check all that apply.
          P.O. Box 7346                                        D Contingent
          Philadelphia, PA 19101-7346                          D Unliquidated
                                                               D Disputed
          Date or dates debt was incurred                      Basis for the claim:
                                                               FOR NOTICE PURPOSES ONLY
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY
          unsecured claim: 11 U.S.C. § 507(a) (fil
                                                               ■ No
                                                               D Yes


1:ftifM    List All Creditors with NONPRIORITY Unsecured Claims
     3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured cla,ms, fill
         out and attach lhe Additional Page of Part 2.
                                                                                                                                                      Amount of claim




Official Form 206E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                        page 1 of 3
                                                                                                              37172
           Case 9:23-bk-10485-RC                  Doc 1 Filed 06/13/23 Entered 06/13/23 16:47:15                                       Desc
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 Debtor     You Are Loved Foods, LLC                                                      Case number (if known)
             Name

EJ Nonpriorlty creditor's name and mailing address               As of the petition filing date, the claim is: Check all that apply.      $4,750.00
          1282 Newbury Road, LLC                                 D Contingent
                                                                 □
                                                                 D Unliquidated
          9461 Charleville Boulevard, Suite 5
          Beverly Hills, CA 90212                                    Disputed
          Date(s) debt was Incurred 2016
                                                                 Basis for the claim: Real Property Lease - Expires on 07/31/2023
          Last 4 digits of account number_
                                                                 Is the claim subject to offset?   ■   No   D Yes
� Nonpriority creditor's name and malling address                As of the petition filing date, the clalm Is: Check all that apply.      $4,782.41
          American Express                                       D Contingent
          Post Office Box 0001                                   D Unliquidated
          Los Angeles, CA 90096                                  D Disputed
          Date(s) debt was Incurred 2023
                                                                 Basis for the claim: Credit Card
          Last 4 digits of account number 1004
                                                                 Is the claim subject to offset?   ■   No   D Yes
@!=:] Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.          $0.00
          American Express                                       D Contingent
          Post Office Box 0001                                   D Unliquidated
          Los Angeles, CA 90096                                  D Disputed
          Date(s) debt was Incurred 2023
                                                                 Basis for the claim: Credit Card
          Last 4 digits of account number 3000
                                                                 Is the claim subject to offset?   ■ No     D Yes
� Nonpriority creditor's name and mailing address                As of the petition filing date, the claim Is: Check all that apply.     $43,246.00
          Capital One                                            D Contingent
          Post Office Box 60599                                  D Unliquidated
          City of Industry, CA 91716                             D Disputed
          Date(s) debt was Incurred

                                                                                                   ■
                                                                 Basis for the claim: Credit Card
          Last 4 digits of account number_____________
                                                                 Is the claim subject to offset?       No   D Yes
EJ Nonpriorlty creditor's name and malling address               As of the petition filing date, the claim is: Check all that apply.      $4,268.00
          Cintas                                                 D Contingent
          Post Office Box 29059                                  D Unliquidated
          Phoenix, AZ 85038-9059
          Date(s) debt was Incurred 2022 • 2023
                                                                 ■   Disputed
                                                                 Basis for the claim: Linen and Cleaning Fluid Service
          Last 4 digits of account number 6044
                                                                 Is the claim subject to offset?   ■ No     D Yes
EJ Nonpriority creditor's name and mailing address               As of the petition filing date, the claim is: Check all that apply.    $310,000.00
          GST f/b/o Adam N. Heine, Trustee                       D Contingent
          c/o Rachel Mansdorf, Esq.                              D Unliquidated
          Loeb & Loeb                                            D Disputed
          345 Park Avenue
          New York, NY 10154                                     Basis for the claim: Loan from Trust. Adam Heine (brother) is Trustee of
                                                                 Trust with Trustee having discretion as to whether distributions are
          Date(s) debt was Incurred 2016
                                                                 made
          Last 4 digits of account number_
                                                                 Is the claim subject to offset?   ■ No     D Yes
� Nonpriority creditor's name and malling address                As of the petition filing date, the claim Is: Check all that apply.       $400.00
          Hemp Oil Services                                      D Contingent
          HPS Food Ingredients Inc.                              D Unliquidated
          226 E. Wheeler Street                                  D Disputed
          Sadkatoon, SK S7 0A9
                                                                 Basis for the claim: 100 pounds of Hemp
          Date(s) debt was incurred 2023
          Last 4 digits of account number_                       Is the claim subject to offset?   ■   No   D Yes



Official Form 206 E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 2 of 3
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 Debtor      You Are Loved Foods, LLC                                                               Case number (if known)
             Name

� Nonprlority creditor's name and malllng address                          As of the petition filing date, the claim Is: Check all that apply.                   $1,100.00
  Richard A. Rodgers, Esq.                                                 D Contingent
  Shane, Digiuseppe & Rodgers
  3125 Old Conejo Road
                                                                           □ Unliquidated
                                                                           D Disputed
  Newbury Park, CA 91320

                                                                                                              ■
                                                                           Basis for the claim: Legal Fees
          Date(s) debt was incurred   202   3
          Last 4 digits of account number_                                 Is the claim subject to offset?         No D Yes

� Nonpriorlty creditor's name and malling address                          As of the petition filing date, the claim Is: Check al/that apply.                    $4,403.00
  Southern California Edison                                               D Contingent
  P.O. Box600                                                              D Unliquidated
  Rosemead, CA 91771-0001                                                  D Disputed
          Date(s) debt was incurred   202   3
                                                                                                   Utility
                                                                                                              ■
                                                                           Basis for the claim:
          Last 4 digits of account number 32 30
                                                                           Is the claim subject to offset?         No D Yes

� Nonpriortty creditor's name and malling address                          As of the petition filing date, the claim Is: Check all that apply.                   $1,265. 00
  Southern California Gas                                                  D Contingent
  P.O. BoxC                                                                D Unliquidated
  Monterey Park, CA 91756-5111                                             D Disputed
          Date(s) debt was incurred 2023
                                                                                                   Utility
                                                                                                              ■
                                                                           Basis for the clalm:
          Last 4 digits of account number 6730
                                                                           Is the claim subject to offset?         No D Yes

� Nonprlorlty creditor's name and mailing address                          As of the petition filing date, the claim Is: Check all that apply.                      $438. 00
  Thousand Oaks Water                                                      D Contingent
  2100 Thousand Oaks Blvd                                                  D Unliquidated
  Thousand Oaks, CA 91362                                                  D Disputed
          Date(s) debt was incurred   202  3
                                                                           Basis for the claim:    Utility
          Last 4 digits of account number 1727
                                                                           Is the claim subject to offset?    ■    No D Yes


■=tMifM      l..ist Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed In Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.
          Name and malling address                                                                  On which line In Part1 or Part 2 is the             Last 4 digits of
                                                                                                    related creditor (If any) listed?                   account number, if
                                                                                                                                                        any
4.1       Mark Chatow, Esq.
          23 Corporate Plaza Drive, Suite 150                                                       Line 3.5
          Newport Beach, CA 92660
                                                                                                    D        Not listed. Explain __


■=tMIM       Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonprlorlty unsecured claims.




                                                                                                        ·� I
                                                                                                                      Total of claim amounts
 5a. Total claims from Part 1                                                                           Sa.         $ -------=            2�,4=00=•=::....
                                                                                                                                                   00
 5b. Total claims from Part 2                                                                           5b.    +    $                   374,652.41

5c. Total of Parts 1 and 2
     Lines Sa + Sb = Sc.                                                                                            $_      377,0 52.41
                                                                                                                       _____ _ _ _ _ _ _ _




Official Form 206 Elf                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 3 of 3
            Case 9:23-bk-10485-RC                    Doc 1 Filed 06/13/23 Entered 06/13/23 16:47:15                                          Desc
                                                     Main Document    Page 22 of 40
 Fill in this information to identify the case:

 Debtor name       You Are Loved Foods, LLC

 United States Bankruptcy Court for the:     CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                  D Check if this is an
                                                                                                                                    amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
       D No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       ■  Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/8: Assets - Real and Personal            Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

2.1.        State what the contract or            Lease for Real Property
            lease is for and the nature of        located at 1282
            the debtor's interest                 Newbury Road, Suite
                                                  100, Thousand Oaks,
                                                  CA. 91320
                State the term remaining          2 months
                                                                                    1282 Newbury Road, LLC
             List the contract number of any                                        9461 Charleville Boulevard, Suite 5
                   government contract                                              Beverly Hills, CA 90212



2.2.        State what the contract or            SEE SCHEDULE OF
            lease is for and the nature of        EQUIPMENT
            the debtor's interest                 ATTACHED TO
                                                  SCHEDULE "B"
                State the term remaining                                            First Citizens Bank formally
                                                                                    CIT 155 Commerce Way
             List the contract number of any                                        Attn: Alysha Lambert
                   government contract                                              Portsmouth, NH 03801




Official Form 206G                         Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
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Fill in this information to identify the case:

Debtor name      You Are Loved Foods, LLC

United States Bankruptcy Court for the:   CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                          D Check if this is an
                                                                                                                            amended filing

Official Form 206H
Schedule H: Your Codebtors                                                                                                                    12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

D No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
■ Yes
  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                          Name                            Check all schedules
                                                                                                                               that apply:

                                                                                                                               DD
                                                                                                                               ■
   2.1    Jonathan Heine              970 Schooner Drive, #207                                 GST f/b/o Adam N.
                                      Ventura, CA 93001                                        Heine, Trustee                      E/F      3.6
                                                                                                                               DG



   2.2    Jonathan Heine              970 Schooner Drive, #207
                                      Ventura, CA 93001
                                                                                               First Citizens Bank
                                                                                               formally CIT
                                                                                                                               ■ D
                                                                                                                               D E/F
                                                                                                                                     2.1

                                                                                                                               DG



   2.3    Jonathan Heine              970 Schooner Drive, #207
                                      Ventura, CA 93001
                                                                                               First Citizens Bank
                                                                                               formally CIT
                                                                                                                               ■ D
                                                                                                                               D E/F
                                                                                                                                     2.2

                                                                                                                               □ G




   2.4    Jonathan Heine              970 Schooner Drive, #207                                 American Express                DD
                                      Ventura, CA 93001                                                                        ■ E/F        3.2
                                                                                                                               DG



   2.5    Jonathan Heine              970 Schooner Drive, #207                                 American Express                DO
                                      Ventura, CA 93001                                                                        ■ E/F        3.3
                                                                                                                               DG


Official Form 206H                                                    Schedule H: Your Codebtors                                            Page 1 of 2
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Debtor   You Are Loved Foods, LLC                                            Case number (if known)


- Additional Page to List More Codebtors
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
   Column 1: Codebtor                                                         Column 2: Creditor


  2.6    Jonathan Heine          970 Schooner Drive, #207                         Capital One               DD
                                 Ventura, CA 93001                                                          ■ E/F   3.4
                                                                                                            DG



  2.7    Jonathan Heine          970 Schooner Drive, #207                         Southern California       DD
                                 Ventura, CA 93001                                Edison                    ■ E/F   3.9
                                                                                                            DG



  2.8    Jonathan Heine          970 Schooner Drive, #207                         First Citizens            DD
                                 Ventura, CA 93001                                Bank formally CIT         D E/F
                                                                                                            ■ G   2.2




Official Form 206H                                          Schedule H: Your Codebtors                              Page 2 of 2
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 Fill in this information to identify the case:

 Debtor name        You Are Loved Foods, LLC

 United States Bankruptcy Court for the:   CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                              O Check if this is an
                                                                                                                                amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                              04/22

The debtor must answer every question. If more space is needed, attach a separate sheet to this fonn. On the top of any additional pages,
write the debtor's name and case number (if known).

i:ffiilM Income
1. Gross revenue from business

      D None.

      Identify the beginning and ending dates of the debtor's fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

       From the beginning of the fiscal year to filing date:
       From 1/01/2023 to Filing Date
                                                                                      ■   Operating a business                                 $4,400.00

                                                                                      0 Other


       For prior year:
       From 1/01/2022 to 12/31/2022
                                                                                      ■   Operating a business                               $38,589.00

                                                                                      0 Other


       For year before that:                                                          ■ Operating a business                                 $18,429.00
       From 1/01/2021 to 12/31/2021
                                                                                       0 Other

2.   Non-business revenue
     Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
     and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

      ■   None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

1:fflifW List Certain Transfers Made Before Filing for Bankruptcy
3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers-including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

      ■   None.

       Creditor's Name and Address                                Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 1
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 Debtor      You Are Loved Foods, LLC                                                            Case number (ifknownJ __ ________
                                                                                                                         _         __


    or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
    may be adjusted on 4/01 /25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101 (31 ).

      ■   None.

      Insider's name and address                                   Dates                  Total amount of value           Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

      ■ None
      Creditor's name and address                      Describe of the Property                                         Date                   Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor's direction from an account of the debtor because the debtor owed a
   debt.

      ■   None

      Creditor's name and address                      Description of the action creditor took                          Date action was                 Amount
                                                                                                                        taken

•::@iW legal Actions or Assignments
7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity-within 1 year before filing this case.

      □ None.
              Case title                               Nature of case               Court or agency's name and                 Status of case
              Case number                                                           address
      7.1.    You Are Loved Foods vs.                  Specific                     Los Angeles Superior Court                 D Pending
              1282 Newbury Rd, LLC                     Perfonnance,                 111 North Hill Street                      D On appeal
                                                       Breach of                    Los Angeles, CA 90012                      ■   Concluded
                                                       Contract


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

      ■   None


■#HIM        Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

      ■   None

              Recipient's name and address             Description of the gifts or contributions                  Dates given                             Value


•@JM Certain Losses
10. All losses from fire, theft, or other casualty within 1 year before filing this case.

     ■ None
Official Form 207                           Statement of Financial Affal".9 for Non-Individuals FIiing for Bankruptcy                                      page2
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 Debtor       You Are Loved Foods, LLC                                                              Case number (if known)   -------------

      Description of the property lost and             Amount of payments received for the loss                     Dates of loss         Value of property
      how the loss occurred                                                                                                                            lost
                                                       If you have received payments to cover the loss, for
                                                       example, from insurance, government compensation, or
                                                       tort liability, list the total received.
                                                       List unpaid claims on Official Form 106A/B (Schedule
                                                       A/8: Assets - Real and Personal Property).

■=MJC·A �ertain Payments or Transfers
11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

     D None.

               Who was paid or who received              If not money, describe any property transferred               Dates                Total amount or
               the transfer?                                                                                                                         value
               Address
      11.1.    Goodman Law Offices, APC
               30700 Russell Ranch Road
               Suite 250                                                                                               June 5,
               Newbury Park, CA 91320                                                                                  2023                       $6,338.00

               Email or website address
               agoodman@andyglaw.com

               Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

      ■ None.
      Name of trust or device                             Describe any property transferred                      Dates transfers            Total amount or
                                                                                                                 were made                           value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

      ■ None.
              Who received transfer?                   Description of property transferred or                      Date transfer            Total amount or
              Address                                  payments received or debts paid in exchange                 was made                          value

■itfflfM      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


      ■ Does not apply
               Address                                                                                               Dates of occupancy
                                                                                                                     From-To

•itffl•=M l-lealth Care Bankruptcies
15. Health Care bankruptcies
Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 3
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 Debtor      You Are Loved Foods, LLC                                                             Case number (if known) -------------



    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

      ■
      D
           No. Go to Part 9.
           Yes. Fill in the information below.


                 Facility name and address              Nature of the business operation, including type of services                If debtor provides meals
                                                        the debtor provides                                                         and housing, number of
                                                                                                                                    patients in debtor's care

■=tffl@M Personally Identifiable Information
16. Does the debtor collect and retain personally identifiable information of customers?

      ■
      D
           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401 (k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

      ■
      D
           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


■=tfflli•M   Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor's name, or for the debtor's benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

      ■   None
              Financial Institution name and            Last 4 digits of           Type of account or           Date account was                 Last balance
              Address                                   account number             Instrument                   closed, sold,                before closing or
                                                                                                                moved, or                             transfer
                                                                                                                transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


      ■   None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to It                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


      ■   None

      Facility name and address                              Names of anyone with                  Description of the contents                Does debtor
                                                             access to it                                                                     still have it?


■ifillM      Property the Debtor Holds or Controls That the Debtor Does Not Own




Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page4
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 Debtor     You Are Loved Foods, LLC                                                            Case number (if known) -------------



21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

    ■ None
■:ffiltW    0etails About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     ■     No.
     D     Yes. Provide details below.

      Case tltle                                            Court or agency name and              Nature of the case                            Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

     ■     No.
     0     Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?


     D
      ■    No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

■=tMIN       0etails About the Debtor's Business or Connections to Any Business

25. Other businesses In which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

      ■   None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed
26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor's books and records within 2 years before filing this case.
         □ None
      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To


Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page5
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 Debtor     You Are Loved Foods, LLC                                                             Case number (itknownJ _____________


       Name and address                                                                                                             Date of service
                                                                                                                                    From-To
       26a.1.       MBE, CPA's                                                                                                      3030- Present
                    E10890 Penny Lane
                    Baraboo,Wl53913

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor's books of account and records or prepared a financial statement
         within 2 years before filing this case.

          □ None
       Name and address                                                                                                             Date of service
                                                                                                                                    From-To
       26b.1.       MBE, CPA's                                                                                                      2020 - Present
                    E10890 Penny Lane
                    Baraboo,Wl53913

    26c. List all firms or individuals who were in possession of the debtor's books of account and records when this case is filed.

          □ None
       Name and address                                                                              If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        MBE CPA's
                    E10890 Penny Lane
                    Baraboo WI 53913

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

          ■ None
      Name and address

27. Inventories
    Have any inventories of the debtor's property been taken within 2 years before filing this case?

      ■    No
      D    Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                  Date of inventory       The dollar amount and basis (cost, market,
                inventory                                                                                    or other basis) of each inventory

28. List the debtors officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                   Address                                             Position and nature of any                % of interest, if
                                                                                                  Interest                                  any
      Jonathan Heine                         970 Schooner Drive, #207                             Managing Member                           93.591
                                             Ventura, CA 93001

      Name                                    Address                                             Position and nature of any                % of Interest, if
                                                                                                  interest                                  any
      Vince DeGiaimo                          1401 Maryland Avenue                                Member                                    1.465
                                              Cape May, NJ 08204-2525

      Name                                   Address                                              Position and nature of any                % of interest, if
                                                                                                  Interest                                  any
      Gary Bartl                             777 North US Highway 1                               Member                                    2.305
                                             Jupiter, FL 33469




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page&
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Debtor       You Are Loved Foods, LLC                                                          Case number (it known}   ------------
      Name                                   Address                                             Position and nature of any              % of Interest, if
                                                                                                 interest                                any
      Elan Schultz                           1 Grand Army Plaza                                  Member                                  0.124
                                             Brooklyn, NY 11238

      Name                                  Address                                              Position and nature of any              % of interest, if
                                                                                                 Interest                                any
      James Tanenbaum                       870 United Nations Plaza                             Member                                  .733
                                            Apt 18E
                                            New York, NY 10017
      Name                                  Address                                              Position and nature of any              % of interest, If
                                                                                                 Interest                                any
      Ilene Shack                            529 W. 42nd St. Apt SC                              Member                                  1.781
                                             New York, NY 10036



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


     ■
     D
           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

     0 No
     ■     Yes. Identify below.

             Name and address of recipient            Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value
      30.1                                            Car Lease Payment of $603.00 per month
                                                      plus car insurance. Vehicle used for                                          This was the sole
             Jonathan Heine                           work. Mr. Heine Leased a new car in May                                       compensation/be
             970 Schooner Drive, #207                 2023. Debtor ceased making car                            June 2022-          nefit that Mr.
             Ventura, CA 93001                        payments after April 30, 2023                             April 30, 2023      Heine received.

             Relationship to debtor
             Managing Member


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

     ■
     D
           No
           Yes. Identify below.

   Name of the parent corporation                                                                     Employer Identification number of the parent
                                                                                                      corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

     ■
     D
           No
           Yes. Identify below.

   Name of the pension fund                                                                           Employer Identification number of the pension
                                                                                                      fund




Official Form 207                          Statement of Financial Affairs for Non-Individuals FIiing for Bankruptcy                                   page 7
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Fill in this inform�tion to identify the case:

Debtor name         You Are Loved Foods, LLC

United States Bankruptcy Court for the:   CENTRAL DISTRICT OF CALIFORNIA

Case number (if knOwn) __________
                                                                                                                          0 Check if this Is an
                                                                                                                            amended filing


Official F om, 207
Statement of Financial Affairs for Non-lndlvlduals FIiing for Bankruptcy                                                                          04/22
The debtor must answer every question. If more space II needed, attach a eeparate sheet to ttll9 form. On the top of any acldltJonal pages,
write the debton name and case number {If known).

•ifiiiM Signature and Declaratlon
     WARNING - Bankruptcy fraud ls a serious crime. Making a false statement, concealing property. or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $5001 000 or Imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 1S2, 1341. 1519. and 3571.
     I have examined the information In this Statement of Financial Affairs and any attachments and have a reasonable bellef that the Information is true
     and correct

     I declare under pe



                                                               Jonathan Heine
                                                               Printed name
 Positio    r relationship to debtor __M=a__n__a_gi__n_gi..;.Me=m=ber= --
                                                                      -   -----


■□
Are addltlonal pages to Statement ofRnanclal Affairs for Non-Individuals Fl/Ing for Bankruptcy {Offlcfal Fonn 207) attached?
  No
  Yes




Official Fonn 207                           Statament of Flnanclal Affal19 for Non-lndlvlduall FlUng for Bankruptcy                                 page 1
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82030 {Form 2030) (12/15)
                                                                              United States Bankruptcy Court
                                                                                       Central District of California
     In re       You Are Loved Foods, LLC                                                                                                                 Case No.
                                                                                                                 Debtor(s)                                Chapter     7

                                 DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
I.       Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
         compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
         be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
                  For legal services, I have agreed to accept......................................................................................   $                   8 , 338.00

                  Prior to the tiling of this statement I have received______                                                                         $                   8,338.00

                  Balance Due·····················----                              ---····················--------                                   $                        0.00

2.       $       338 .00         of the filing fee has been paid.

3.       The source of the compensation paid to me was:
                  ■     Debtor               D Other {specify):

4.       The source of compensation to be paid to me is:
                  ■     Debtor               D Other (specify):

5.           ■   I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

             D I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
               copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.           In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

         a.      Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
         b.      Preparation and filing of any petition. schedules, statement of affairs and plan which may be required;
         c.      Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
         d.      [Other provisions as needed]
                      Exemption planning; Review of reaffirmation agreements and applications as needed

7.       By agreement with the debtor(s), the above-disclosed fee does not include the following service:
                 Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
                 any other adversary proceeding.


       I certify that the foregoing is a complete statement of any agreement                                                                                   or representation of the debtor(s) in
 this ban                    ng.
                                            �1'5>
                                                                                                                Andrew Goo                   an 1568 5
                                                                                                                Signature of uor
                                                                                                                Goodman Law Offices, A Professional Corporation
                                                                                                                30700 Russell Ranch Road
                                                                                                                Suite 250
                                                                                                                Thousand Oaks, CA 91 362
                                                                                                                8 1 8 -802-5044 Fax: 8 1 8 -975-5256
                                                                                                                agoodman@andyglaw.com
                                                                                                                Name oflaw firm
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 Attorney or Party Name, Address, Telephone               Page 34 of 40
                                            & FAX Nos., FOR COURT USE ONLY
 State Bar No. & Email Address
 Andrew Goodman 115885
 30700 Russell Ranch Road
 Suite 250
 Thousand Oaks, CA 91382
818-802-5044 Fax: 818-975-5268
California State Bar Number: 115885 CA
agoodman@andyglaw.com




□   Debtor(s) appearing without an attorney
■   Attorney for Debtor

                                                      UNITED STATES BANKRUPTCY COURT
                                                       CENTRAL DISTRICT OF CALIFORNIA

In re:
           You Are Loved Foods, LLC
                                                                                     CASE NO.:
                                                                                     CHAPTER: 7



                                                                                                        VERIFICATION OF MASTER
                                                                                                       MAILING LIST OF CREDITORS
                                                                                                                      [LBR 1007-1(a)]

                                                                 Debtor(s).
Pursuant to LBR 1007-1(a). the Debtor, or the Debtor's attorney if applicable, certifies under penalty of perjury that the
master mailing list of creditors filed in this bankruptcy case, consisting of..L sheet(s) is complete, correct, and
consistent with the Debtor's schedules and I/we assume all responsibility for errors and omissions.
oate:          obf 1,/ 1&Y3
                 1           )
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                                                                                                                                    ---

         ---------------
                             l:1.
Date:

       Ob/1---+
Date: ----1-                   b :G
             I3 , ...........-------- ----




                     This fonn is optional. ft haa been approved f01 uao In tho United Statea Bankruptcy Court for lhe Central District of California.
Docember2016                                                                                          F 1007-1.MAILING.LIST.VERIFICATION
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                   You Are Loved Foods, LLC
                   1282 Newbury Road, Suite 100
                   Newbury Park, CA 91320

                   Andrew Goodman
                   Goodman Law Off ices, A Professional Corporation
                   30700 Russell Ranch Road
                   Suite 250
                   Thousand Oaks, CA 91362

                   1282 Newbury Road, LLC
                   94 61 Charleville Boulevard, Suite 5
                   Beverly Hills, CA 90212

                   1282 Newbury Road, LLC
                   94 61 Charleville Boulevard, Suite 5
                   Beverly Hills, CA 90212

                   American Express
                   Post Office Box 0001
                   Los Angeles, CA 90096

                   American Express
                   Post Office Box 0001
                   Los Angeles, CA 90096

                   Capital One
                   Post Office Box 60599
                   City of Industry, CA 91716

                   Cintas
                   Post Office Box 29059
                   Phoenix, AZ 85038-9059
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                    First Citizens Bank formally CIT
                    155 Commerce Way
                    Attn: Alysha Lambert
                    Portsmouth, NH 03801

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                    155 Commerce Way
                    Attn: Alysha Lambert
                    Portsmouth, NH 03801

                   First Citizenz Bank formally CIT
                   155 Commerce Way
                   Attn: Alysha Lambert
                   Portsmouth, NH 03801

                   Franchise Tax Board
                   Section, MS: A-340
                   P. 0. Box 2952
                   Sacramento, CA 95812-2952

                   GST f/b/o Adam N. Heine, Trustee
                   c/o Rachel Mansdorf, Esq.
                   Loeb & Loeb
                   345 Park Avenue
                   New York, NY 10154

                   Hemp Oil Services
                   HPS Food Ingredients Inc.
                   226 E. Wheeler Street
                   Sadkatoon, SK S7 0A9

                   Internal Revenue Service
                   P. 0. Box 7346
                   Philadelphia, PA 19101-7346

                   Jonathan Heine
                   970 Schooner Drive, #207
                   Ventura, CA 93001
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                   Jonathan Heine
                   970 Schooner Drive, #207
                   Ventura, CA 93001

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                   Ventura, CA 93001

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                   970 Schooner Drive, #207
                   Ventura, CA 93001

                   Mark Chatow, Esq.
                   23 Corporate Plaza Drive, Suite 150
                   Newport Beach, CA 92660
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                   Richard A. Rodgers, Esq.
                   Shane, Digiuseppe & Rodgers
                   3125 Old Conejo Road
                   Newbury Park, CA 91320

                   Southern California Edison
                   P. 0. Box 600
                   Rosemead, CA 91771-0001

                   Southern California Gas
                   P.O. Box C
                   Monterey Park, CA 91756-5111

                   Thousand Oaks Water
                   2100 Thousand Oaks Blvd
                   Thousand Oaks, CA 91362
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Attorney or Party Name, Address, Telephone & FAX Nos., and State Bar No. &        FOR COURT USE ONLY
Email Address
Andrew Goodman 115685
30700 Russell Ranch Road
Suite 250
Thousand Oaks, CA 91362
818-802-5044 Fax: 818-975-5256
California State Bar Number: 115685 CA
agoodman@andyglaw.com




•Attorney for.
                                                UNITED STATES BANKRUPTCY COURT
                                                 CENTRAL DISTRICT OF CALIFORNIA
In re:                                                                        CASE NO.:
         You Are Loved Foods, LLC                                             ADVERSARY NO.:
                                                                   Debtor(s), CHAPTER: 7

                                                                  Plaintiff(s),
                                                                                    CORPORATE OWNERSHIP STATEMENT
                                                                                       PURSUANT TO FRBP 1007(a)(1)
                                                                                         and 7007 .1, and LBR 1007-4

                                                                                                                   [No hearing]
                                                              Defendant(s).

Pursuant to FRBP 1007(a)(1) and 7007.1, and LBR 1007-4, any corporation, other than a governmental unit, that is a debtor in
a voluntary case or a party to an adversary proceeding or a contested matter shall file this Statement identifying all its parent
corporations and listing any publicly held company, other than a governmental unit, that directly or indirectly own 10% or more
of any class of the corporation's equity interest, or state that there are no entities to report. This Corporate Ownership
Statement must be filed with the initial pleading filed by a corporate entity in a case or adversary proceeding. A supplemental
statement must promptly be filed upon any change in circumstances that renders this Corporate Ownership Statement
inaccurate.

I,   Andrew Goodman 115685                                                    , the undersigned in the above-captioned case, hereby declare
                  (Print Name of Attorney or Declarant)
under penalty of perjury under the laws of the United States of America that the following is true and correct:




                This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
December2012                                                                                                 F 1007-4.CORP.OWNERSHIP.STMT
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[Check the appropriate boxes and, if applicable, provide the required Information.]
1.          I have personal knowledge of the matters set forth in this Statement because:

            □□□    I am the president or other officer or an authorized agent of the Debtor corporation
                   I am a party to an adversary proceeding

              ■□
                   I am a party to a contested matter
                   I am the attorney for the Debtor corporation
2.a.               The following entities, other than the debtor or a governmental unit directly or indirectly own 10% or more of any
                    class of the corporation's(s') equity interests:

           ■
                    [For additional names, attach an addendum to this form.]
     b.              her are no entities that directly or indirectly own 10% or more o any c


Date
          ob 1J �D�j;>                                                                        By:


                                                                                              Name:        Andrew Goodman 115685
                                                                                                           Printed name of Debtor, or attorney for
                                                                                                           Debtor




                     This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
December2012                                                                                                      F 1007-4.CORP.OWNERSHIP.STMT
